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                                                                                                                                      UNITED STATES DISTRICT COURT
                                                                                                                                      EASTERN DISTRICT OF MICHIGAN
                                                                                                                                           SOUTHERN DIVISION

                                                                                                                  JULIA ZIMMERMAN,

                                                                                                                               Plaintiff,                  Case No. 2:23-cv-11634-NGE-APP
The Health Law Partners, P.C. - 32000 Northwestern Hwy., Ste. 240 – Farmington Hills, MI 48334 - (248) 996-8510




                                                                                                                  vs.                                      Judge: Hon. Nancy G. Edmunds
                                                                                                                                                           Magistrate Judge:
                                                                                                                  ELIZABETH A. PENSLER, D.O., PLLC         Hon. Anthony P. Patti
                                                                                                                  (d/b/a “Pensler Vein and Vascular”,
                                                                                                                  “Pensler Vein and Vascular Surgical
                                                                                                                  Institute”, and “Elizabeth Face +
                                                                                                                  Body Med Spa”) et al.,

                                                                                                                                 Defendants.
                                                                                                                  __________________________________________________________________/
                                                                                                                  DEBORAH GORDON LAW                     THE HEALTH LAW
                                                                                                                  Deborah L. Gordon (P27058)             PARTNERS, P.C.
                                                                                                                  Elizabeth Marzotto Taylor (P82061)     Clinton Mikel (P73496)
                                                                                                                  Sarah Gordon Thomas (P83935)           Attorneys for the Defendants
                                                                                                                  Molly Savage (P84472)                  Elizabeth A. Pensler, D.O., PLLC
                                                                                                                  Attorneys for the Plaintiff            (d/b/a “Pensler Vein and Vascular
                                                                                                                  Julia Zimmerman                        “Pensler Vein and Vascular Surgical
                                                                                                                  33 Bloomfield Hills Parkway, Suite 220  Institute”, and “Elizabeth Face +
                                                                                                                  Bloomfield Hills, Michigan 48304       Body Med Spa”); Elizabeth Med
                                                                                                                  Tel: (248) 258-2500                    Spa, PLLC Derek L. Hill, D.O.,
                                                                                                                  dgordon@deborahgordonlaw.com           PLLC; (d/b/a “Hill Orthopedics”),
                                                                                                                  emarzottotaylor@deborahgordonlaw.com Elizabeth Pensler, D.O. and
                                                                                                                  sthomas@deborahgordonlaw.com           Derek Hill, D.O.
                                                                                                                  msavage@deborahgordonlaw.com           3200 Northwestern, #240
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                                                                                                                  __________________________________________________________________/
                                                                                                                         DEFENDANTS’ REPLY BRIEF IN SUPPORT OF IT
                                                                                                                        MOTION FOR AN EXTENSION OF TIME TO PLEAD,
                                                                                                                        MOVE OR OTHERWISE RESPOND TO PLAINTIFF’S
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                                                                                                                  Defendants respectfully submit this reply brief in further support of their

                                                                                                            Motion for a 45-day extension of time to Answer, move or otherwise respond to

                                                                                                            the First Amended Complaint (“FAC”) (Dkt. 14, “Motion”).

                                                                                                                                               ARGUMENT

                                                                                                                   In good faith, Defense Counsel provided numerous, valid, professional,
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                                                                                                            personal, and specific reasons for a 45-day extension to Answer, move or otherwise

                                                                                                            respond to the FAC. Plaintiff was unreasonable and offered a one-week extension,

                                                                                                            the equivalent of “ice in winter.” Even after Defense Counsel compromised and

                                                                                                            lowered the request to 30-days, Plaintiff’s Counsel held to an extreme position and

                                                                                                            said they might “consider” a two-weeks. Even now, Plaintiff’s opposition brief (Dkt.

                                                                                                            16, “Opp.”) offers invalid excuses as to why a first, routine, professional courtesy

                                                                                                            (granted by virtually every attorney in the federal bar), was not granted. Plaintiff

                                                                                                            attempts to show that Defense Counsel was unreasonable and without good cause,

                                                                                                            but the Motion and exhibits demonstrate the opposite.

                                                                                                                  First, Plaintiff claims Defendants set forth a litany of shifting reasons for an

                                                                                                            extension and Defendant real need is to file a motion to dismiss. (Opp., p. 1). The

                                                                                                            inaccuracy of this claim is shown by the email exhibits. In his July 26, 2023, email,

                                                                                                            Mr. Mikel stated reasons for the extension, including busy client dockets, scheduled

                                                                                                            vacations, work related trips, the number of named defendants, uncertainty about

                                                                                                            joint representation; and the need to evaluate changes to the FAC, internally and

                                                                                                            with clients. (“Ex. C”). On July 31, 2023, the day of a pre-scheduled meet-and-

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                                                                                                            confer, Plaintiff’s Counsel only communicated after receiving an email that Defense

                                                                                                            Counsel was waiting 20-minutes on the call, and after being met with a lack of

                                                                                                            professionalism, Mr. Mikel expanded on the reasons why the extension was needed

                                                                                                            (i.e., clients out of the county, Mr. Mikel’s father-in-law going to hospice shortly in

                                                                                                            Missouri, and Mr. Mikel’s mother having surgery to remove thyroid cancer at the
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                                                                                                            end of August. (Ex. F). Even without work—client-related obligations, the personal

                                                                                                            reasons alone constitute good cause to grant the extension. None of the reasons

                                                                                                            provided shifted, changed or were unclear.

                                                                                                                  Second, Plaintiff characterizes the request as a subterfuge to prepare a motion

                                                                                                            to dismiss. (Opp., p. 1). Plaintiff omits that after agreeing to provide only a “one-

                                                                                                            week” extension (Ex. B), Mr. Mikel specifically advised Plaintiff’s Counsel of the

                                                                                                            possibility of a motion to dismiss, and asked if this would change their mind for the

                                                                                                            extension. (Motion, ¶ 5). Ms. Marzotto Taylor acknowledged that she understood

                                                                                                            the potential for a motion but that did not change her position. (Ex. E, p. 3). Plaintiff

                                                                                                            cannot claim potential motion practice was obscured in any way.

                                                                                                                  Third, Plaintiff argues there is “no good cause to delay this case until

                                                                                                            November 2023,” citing their firm’s own professional trial commitments as a reason

                                                                                                            to deny the extension. (Opp. p. 1). Plaintiff counsel omits from its brief that during

                                                                                                            the meet-and-confer, Defendants compromised and asked for a 30-day extension

                                                                                                            until September 11, 2023. (Ex. F). This run of the mill extension would have

                                                                                                            provided two weeks to review a pleading / motion prior to the start of the trial, and

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                                                                                                            Defendants offered comparable or more lengthy extensions to Plaintiff. (Ex. H).

                                                                                                            Plaintiff still refused to be reasonable. Defense Counsel was clear, the instant motion

                                                                                                            for 45-day (not 30) was filed because Defense Counsel had to engage in unnecessary

                                                                                                            motion practice that took “additional time” away from substantive work. (Ex. F).

                                                                                                            Regardless, this Court should note the discord of continued refusal to grant an
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                                                                                                            extension based on professional commitments (like trial), arguing that Defendants’

                                                                                                            professional obligations (and family) are of lesser value. Plaintiff may be “anxious

                                                                                                            to move this case forward,” (Opp., p. 1), but Plaintiff’s reasons for denial appear to

                                                                                                            be avoiding motion review of the FAC.

                                                                                                                  Fourth, Plaintiff argues Defense Counsel’s reasons for the extension are too

                                                                                                            general, citing Foster v. Halter, 279 F.3d 348, 357 (6th Cir 2001). Foster discussed

                                                                                                            remanding a “good cause for not presenting [evidence] in the prior proceeding.” Id.

                                                                                                            This has nothing to do with routine extensions -- typically granted, and it does not

                                                                                                            discuss reasonable justification in such a scenario. Plaintiff also cites a non-binding

                                                                                                            case, U.S. ex rel. Kalish v Desnick, 765 F Supp 1352 (N.D. Ill. 1991), in which the

                                                                                                            Court denied the government’s request to extend the time to keep a False Claim Act

                                                                                                            Complaint under seal. Id. In Kalish, the Government “did not state when the

                                                                                                            Department of Justice notified the Department of Health and Human Services or

                                                                                                            when it debriefed Mr. Kalish and his attorney; when the Office of the Inspector

                                                                                                            General of the Department of Human Services began to inspect the documents, how

                                                                                                            many hours on what particular days inspection took place, or how many people were

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                                                                                                            involved in the inspection.” Id.

                                                                                                                  Unlike Kalish, Defense Counsel articulated when the first Complaint was

                                                                                                            served (Motion, ¶ 1), when the FAC was served, that it was served by mail (not

                                                                                                            ECF), 1 (Id.), that Defendant did not evaluate or discuss the FAC changes with the

                                                                                                            client, (Id. at ¶ 3), the limited number of days to respond to the FAC based on how
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                                                                                                            Plaintiff went about service (Id. at ¶ 12), and many specific professional and personal

                                                                                                            reason why the extension was warranted (Id. at ¶¶ 3 and 7). Mr. Mikel, the lead

                                                                                                            attorney handling this case required additional time, for numerous family reasons

                                                                                                            including a family member entering hospice, and his mother receiving surgery, all

                                                                                                            this coupled with child-care and a heavy professional caseload. (Id.). Not only is

                                                                                                            Kalish wholly inapplicable to this case, Plaintiff characterization of Mr. Mikel “elder

                                                                                                            care responsibilities” as everyday life is incorrect. 2

                                                                                                                  Finally, Plaintiff argues it is “prejudicial to force Plaintiff to suspend her

                                                                                                            redress of civil rights violations until the end of the year.” (Opp., p. 3). This is


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                                                                                                             Note, Plaintiff stated the FAC was served by “mail,” on July 25, but did not file a
                                                                                                            Certificate of Service until August 1, 2023, stating service by “overnight mail.”
                                                                                                            Regardless, the Clients were in Spain, and Defense Counsel was provided the FAC
                                                                                                            by email July 27, 2023, before appearance in the case– only 8 days ago. (Ex. D).
                                                                                                            2
                                                                                                              Edkins v United States, 1:17-CV-142, 2017 W.L. 11511310, at *2 (W.D. Mich
                                                                                                            Apr. 10, 2017), is another inapposite case cited by Plaintiff wherein the Court
                                                                                                            found that there was no particularize reason for requiring “another extension of
                                                                                                            time to complete discovery other than ‘unforeseen medical issues.” Id. This
                                                                                                            statement was found to be too vague for another extension given that Plaintiff was
                                                                                                            charged with extensive non-compliance in discovery. Id. This is wholly irrelevant
                                                                                                            to a timely, first-time request to respond to the FAC backed by specific reasons
                                                                                                            (hospice, surgery, child-care, busy client docket).
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                                                                                                            disingenuous. Even if Defendants filed a motion to dismiss on the original response

                                                                                                            date (i.e., August 11, 2023), there would be a month of briefing and a forthcoming

                                                                                                            decision that could dismiss the case. If the case is not dismissed, Defendants would

                                                                                                            Answer and discovery would proceed with the potential for a summary judgment

                                                                                                            motion. Defendants’ compromise request for 30-days would have in no way
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                                                                                                            prejudiced Plaintiff. But, Defense Counsel’s original request for a 45-day extension

                                                                                                            is now warranted, based on the time to meet-and-confer and engage in this

                                                                                                            unnecessary motion practice. There is no prejudice or reasonable belief that Plaintiff

                                                                                                            would obtain relief more expeditiously by denying the extension.

                                                                                                                  For all the foregoing reasons, the Court should grant the requested 45-day

                                                                                                            extension of time and issue an order permitting all Defendants to plead, move, or

                                                                                                            otherwise respond to the FAC on or before September 25, 2023, and any other relief

                                                                                                            to which the Defendants are entitled to.

                                                                                                            Dated: August 3, 2023,                 Respectfully submitted,
                                                                                                                                                   THE HEALTH LAW PARTNERS, P.C.

                                                                                                                                                   /s/ Clinton Mikel
                                                                                                                                                   Clinton Mikel, (P73496),
                                                                                                                                                   Attorney for Defendants
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                                                                                                                                      CERTIFICATE OF SERVICE

                                                                                                                   I certify that on August 3, 2023, I electronically filed the foregoing with the
                                                                                                            Clerk of the Court by using the CM/ECF system which will send email notification of
                                                                                                            electronic filing to counsel for all parties of record.

                                                                                                                                                          s/Clinton Mikel
                                                                                                                                                          Clinton Mikel
                                                                                                                                                          The Health Law Partners, P.C.
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